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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                                No. CR 06-537 JB

JOSE CRUZ RODRIGUEZ-RODRIGUEZ,

               Defendant.

                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on the Defendant’s Motion in Limine, filed April

6, 2007 (Doc. 82)(“Motion to Exclude”). The primary issue is whether the Court should allow the

United States to have any witnesses, expert or otherwise, testify regarding what practices are usual

or customary in drug organizations or in narcotics transactions. Because the Court believes that

testimony regarding narcotics dealers’ customary practices may be relevant and helpful to the jury

in this case, and because Rodriguez-Rodriguez has not explained why such testimony would be more

prejudicial than probative, the Court will not exclude any testimony pretrial.

                                   PROCEDURAL HISTORY

       On March 15, 2006, a federal grand jury returned a two-count indictment that charging

Rodriguez-Rodriguez possessed with intent to distribute 100 kilograms and more of marijuana and

conspired to possess with intent to distribute 100 kilograms and more of marijuana, in violation of

21 U.S.C. §§ 841 and 846. See Indictment, filed March 15, 2007 (Doc. 17). The Court has set a

trial date in this matter for April 9, 2007. Rodriguez-Rodriguez moves the Court to exclude

testimony from prosecution witnesses, expert or otherwise, regarding “what practices are usual or
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customary in drug organizations or the narcotics business.” Motion to Exclude at 1.

                LAW REGARDING DRUG ORGANIZATION TESTIMONY

        The United States Court of Appeals for the Tenth Circuit “has repeatedly held that in

narcotics cases, expert testimony [by a law enforcement officer] can assist the jury in understanding

transactions and terminology.” United States v. Walker, 179 Fed. Appx. 503, 507 (10th Cir.

2006)(quoting United States v. Quintana, 70 F.3d 1167, 1171 (10th Cir. 1995)). This rule is based

on the Tenth Circuit’s recognition that the modus operandi of drug organizations, the value of drug

quantities, the language of narcotics dealers, and the tools of the narcotics trade “are not subjects with

which most jurors are familiar.” United States v. McDonald, 933 F.2d 1519, 1522 (10th Cir. 1991).

Other Circuit Courts of Appeal are in accord. See United States v. Martinez, 476 F.3d 961, 967

(D.C. Cir. 2007)(“Expert testimony about the methods of drug organizations is common in drug

cases.”); United States v. Robles-Rosas, 27 Fed. Appx. 897, 899 (9th Cir. 2001)(holding that district

court did not abuse its discretion in permitting testimony regarding the modus operandi of drug

organizations); United States v. Gastiaburo, 16 F.3d 582, 589 (4th Cir. 1994)(“[T]estimony on the

modus operandi of criminals ‘is commonly admitted,’ particularly regarding the methods of drug

dealers.”)(quoting United States v. Chin, 981 F.2d 1275, 1279 (D.C. Cir. 1992)(Ginsburg, J.)). More

specifically, in cases involving possession with intent to distribute, the Tenth Circuit has held that

“testimony with regard to the significance of a quantity of drugs possessed is specialized knowledge

that assists the jury in understanding a fact at issue.” United States v. Mundy, 97 Fed. Appx. 844,

846 (10th Cir. 2004).




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                                             RULE 403

       Rule 403 of the Federal Rules of Evidence authorizes a trial court to exclude relevant

evidence “if its probative value is substantially outweighed by the danger of unfair prejudice,

confusion of the issues, or misleading the jury, or by considerations of undue delay, waste of time,

or needless presentation of cumulative evidence.” Fed. R. Evid. 403. In evaluating whether evidence

should be excluded on grounds of unfair prejudice, courts should consider the probable effectiveness

of a limiting instruction and the availability of less prejudicial, alternative means of proof. See Old

Chief v. United States, 519 U.S. 172, 184-85 (1997)(“[W]hen Rule 403 confers discretion by

providing that evidence ‘may’be excluded, the discretionary judgment may be informed not only by

assessing an evidentiary item’s twin tendencies, but by placing the result of that assessment alongside

similar assessments of evidentiary alternatives.”); Fed. R. Evid. 403 advisory committee’s note. The

Tenth Circuit has cautioned trial courts that “[e]xcluding otherwise admissible evidence under Rule

403 ‘is an extraordinary remedy that should be used sparingly.’” Mendelsohn v. Sprint/United Mgmt.

Co., 466 F.3d 1223, 1231 (10th Cir. 2006)(quoting United States v. Roberts, 88 F.3d 872, 880 (10th

Cir. 1996)).

                                             ANALYSIS

       In his motion to exclude, Rodriguez-Rodriguez has not identified any individual witness to

whom he objects or cited any authority in support of his request. He does not contend that any of

the United States’proposed witnesses are incompetent or unqualified. Instead, Rodriguez-Rodriguez

contends that general testimony regarding drug organization and narcotics transactions is not

relevant. See Motion to Exclude at 1. Because the Court believes, however, that testimony

regarding narcotics dealers’customary practices may be relevant and helpful to the jury in this case,


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 and because Rodriguez-Rodriguez has not explained why such testimony would be more prejudicial

 than probative, the Court will not exclude any testimony pretrial.

         Rodriguez-Rodriguez has not identified in what context general testimony regarding drug

 organizations and narcotics transactions may arise in this case, and the United States has not yet

 submitted a written response to this motion. Rodriguez-Rodriguez merely claims that “no such

 generalizations are relevant to any particular case.” Motion to Exclude at 1. The Court notes,

 however, that Rodriguez-Rodriguez has been charged with possession of marijuana with intent to

 distribute and conspiracy to possess marijuana with intent to distribute. See Indictment at 1. The

 Tenth Circuit has observed that, in cases involving possession of a controlled substance with intent

 to distribute, “testimony with regard to the significance of a quantity of drugs possessed is specialized

 knowledge that assists the jury in understanding a fact at issue.” United States v. Mundy, 97 Fed.

 Appx. at 846. Moreover, the Court does not believe that the organizational logistics of a narcotics

 trafficking conspiracy are within the general knowledge of most jurors. Accordingly, the Court can

 foresee the possibility that general testimony might be relevant and helpful to the jury on matters at

 issue in this case.

        The Court understands that, even though general testimony regarding drug organizations might

be relevant, such evidence may still be inadmissible under rule 403 if its prejudicial impact significantly

outweighs its probative value. The Court is not prepared to say at this point, however, that any danger

of prejudice substantially outweighs the evidence’s probative value. Rodriguez-Rodriguez has not

identified a particular witness to whom he objects, and has not explained the context in which this

evidence might be presented. At this point in the proceedings, the record is not sufficiently developed

for the Court to exclude the evidence. The Court, therefore, will deny the motion without prejudice


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to Rodriguez-Rodriguez renewing it at trial in the context of a more fully developed record.

       IT IS ORDERED that the Defendant’s Motion in Limine is denied.




                                                      ___________________________________
                                                      UNITED STATES DISTRICT JUDGE




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